I concur in the decision reached by the majority.  However, I do so not because of any ambiguity in the trial court's February 5, 1998 Judgment Entry.  I do so because the trial court did not extend appellant's probation beyond the time period of its original term pursuant to R.C.2951.02, nor was the original probation period tolled pursuant to R.C.2951.07.  The trial court's February 5, 1998 entry did not operate to prohibit appellee from filing a probation violation charge during the term of the original probationary period. Having failed to do so, the trial court had no jurisdiction to proceed on the probation violation charge pursuant to State v. Yates (1991), 58 Ohio St.3d 78.
JUDGE WILLIAM B. HOFFMAN
                             JUDGMENT ENTRY
CASE NO.  99-COA-01329
For the reasons stated in the Memorandum-Opinion on file, the judgment of the Ashland Municipal Court is reversed and appellant is discharged from further proceedings concerning the July 2, 1999, probation violation charge. Costs to appellee.